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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE

 TONYA GAMBINO, individually and on
 behalf of all others similarly situated,

           Plaintiff,
                                            Civil Action No.: 2:24-cv-00146
 v.

 BERRY, DUNN, MCNEIL & PARKER, LLC,

           Defendant.


 MICHAEL MEYERSON, individually and on
 behalf of all others similarly situated,

           Plaintiff,
                                            Civil Action No.: 2:24-cv-00147
      v.

 BERRY, DUNN, MCNEIL & PARKER, LLC,

           Defendant.


 LAURA RUSSELL, individually and on
 behalf of all others similarly situated,

           Plaintiff,
                                            Civil Action No.: 2:24-cv-00148
      v.

 BERRY, DUNN, MCNEIL & PARKER, LLC,

           Defendant.
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 LARRY DAVIS, individually and on behalf of
 all others similarly situated,

          Plaintiff,
                                                   Civil Action No.: 2:24-cv-00149
     v.

 BERRY, DUNN, MCNEIL & PARKER, LLC,

          Defendant.


 ROBERT HICKMAN, individually and on
 behalf of all others similarly situated,

          Plaintiff,                               Civil Action No.: 2:24-cv-00150

     v.

 BERRY, DUNN, MCNEIL & PARKER, LLC,

          Defendant.


 VIRGINIA DEMEL-DUFF, individually and
 on behalf of all others similarly situated,

          Plaintiff,
                                                   Civil Action No.: 2:24-cv-00151
     v.

 BERRY, DUNN, MCNEIL & PARKER, LLC,

          Defendant.



       MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION TO
        CONSOLIDATE CASES AND APPOINT INTERIM CLASS COUNSEL

I.     INTRODUCTION

       Pending before the Court are six separately filed, but related, cases against Defendant

Berry, Dunn, McNeil & Parker, LLC (“BerryDunn” or “Defendant”): Gambino v. Berry, Dunn,

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McNeil & Parker, LLC, Case No. 2:24-cv-146 (“Gambino”); Meyerson v. Berry, Dunn, McNeil &

Parker, LLC, Case No. 2:24-cv-147 (“Meyerson”); Russell v. Berry, Dunn, McNeil & Parker, LLC,

Case No. 2:24-cv-148 (“Russell”); Davis v. Berry, Dunn, McNeil & Parker, LLC, Case No. 2:24-

cv-149 (“Davis”); Hickman v. Berry, Dunn, McNeil & Parker, LLC, Case No. 2:24-cv-150

(“Hickman”); and Demel-Duff v. Berry, Dunn, McNeil & Parker, LLC, Case No. 2:24-cv-151

(“Demel-Duff”) (together, the “Related Actions”). Consolidation of the Related Actions under

Federal Rule of Civil Procedure 42(a)(2) is appropriate because the Related Actions involve

common parties (i.e., the same defendant) and allege similar facts and legal claims arising from

the recent data security incident impacting Plaintiffs and putative class members (the “Data

Breach”), which is the subject of the Related Actions. Consolidation will also enable this Court to

conduct proceedings in one combined action, ensuring that the Related Actions are adjudicated

efficiently and avoiding unnecessary duplication of pre-trial proceedings, the risk of inconsistent

adjudications, and duplicative discovery. Consolidation will not prejudice any party, as the Related

Actions are in their infancy—each remains in the initial pleadings stage, and no responses have

been filed to any complaint in the Related Actions. Plaintiffs therefore respectfully request that

this Court enter the proposed order submitted herewith consolidating the Class Actions for all

purposes, including discovery and trial.

       Plaintiffs also request, pursuant to Fed. R. Civ. P. 23(g), the appointment of Mason A.

Barney of Siri & Glimstad LLP, Bryan Bleichner of Chestnut Cambronne, P.A., and Jeff Ostrow

of Kopelowitz Ostrow, P.A. as Interim Co-Lead Class Counsel (“Proposed Interim Co-Lead

Counsel”), and Daniel Srourian of Srourian Law Firm, P.C. and Brooke Murphy of Murphy Law

Firm as members of the Executive Committee (with Proposed Interim Co-Lead Counsel and

Executive Committee to be collectively referred to herein as “Interim Class Counsel”) to lead this

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litigation and help assure the orderly prosecution of the eventual consolidated action.

II.    CONSOLIDATION IS APPROPRIATE.

       Consolidation is appropriate under Federal Rule of Civil Procedure 42(a) because the

Related Actions involve common parties and similar issues of law and fact. First, Defendant named

as a defendant in each of the Related Actions. Second, the putative class representatives can

represent the range of persons who were impacted by the Data Breach. Third, the Related Actions

arise out of the same circumstances—Defendant’s alleged failure to maintain reasonable and

adequate security measures to safeguard the highly sensitive personal information (“PII”) of

Plaintiffs and putative class members, which was entrusted to Defendant by its clients and

subsequently compromised as a result of the Data Breach. Finally, Plaintiffs bring similar legal

claims, each alleging claims for negligence, negligence per se, unjust enrichment, and breach of

fiduciary duty.

       As the table below demonstrates, the Related Actions also propose substantially similar

classes:

                  Case               Proposed Class(es) 1
           Gambino                   All individuals in the United States who had
                                     Private Information accessed and/or acquired as a
                                     result of the Data Breach, including all who were
                                     sent a notice of the Data Breach.

                                     (Gambino Complaint, ECF No. 1 ¶ 106)
           Meyerson                  All persons residing in the United States whose PII
                                     was compromised during the Data Breach that is
                                     the subject of the Notice of Data Breach published
                                     by Defendant on or about April 29, 2024.

                                     (Meyerson Complaint, ECF No. 1 ¶ 97)
           Russell                   All persons residing in the United States whose PII

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 Should consolidation occur, Plaintiffs’ Counsel intend to agree on a single class definition (or set
of class definitions) to be included in a consolidated class action complaint.
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                     Case           Proposed Class(es) 1
                                    was compromised during the Data Breach that is
                                    the subject of the Notice of Data Breach published
                                    by Defendant on or about April 29, 2024.

                                    (Russell Complaint, ECF No. 1 ¶ 97)
           Davis                    All persons residing in the United States whose PII
                                    was compromised during the Data Breach that is
                                    the subject of the Notice of Data Breach published
                                    by Defendant on or about April 29, 2024.

                                    (Davis Complaint, ECF No. 1 ¶ 97)
           Hickman                  All individuals within the United States of
                                    America whose PII was exposed to unauthorized
                                    third parties as a result of the data breach
                                    discovered by Defendant on September 14, 2023.

                                    (Hickman Complaint, ECF No. 1 ¶ 36)
           Demel- Duff              All persons residing in the United States whose
                                    Personal Information was compromised as a result
                                    of the Data Breach.

                                    (Demel-Duff Complaint, ECF No. 1 ¶ 79)

       Under the Federal Rules of Civil Procedure, courts may consolidate two or more related

actions, where, as here, the actions involve at least one common question of law or fact. See Fed.

R. Civ. P. 42(a) (“If actions before the court involve a common question of law or fact, the court

may: (1) join for hearing or trial any or all matters at issue in the actions; (2) consolidate the

actions; or (3) issue any other orders to avoid unnecessary cost or delay.”); see also Cottage

Advisors, LLC v. KBS Bldg. Sys., 2012 U.S. Dist. LEXIS 164631, at *2 (D. Me. Nov. 16, 2012)

(“The threshold issue is whether the [] proceedings involve a common party and common issues

of fact of law… [a] motion for consolidation will usually be granted unless the party opposing it

can show ‘demonstrable prejudice.’”) (citations omitted).

       The First Circuit similarly observed that, in evaluating a motion to consolidate, the court

first determines “whether the two proceedings involve a common party or common issues of fact

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or law.” Seguro de Servicio de Salud de Puerto Rico v. McAuto Sys. Grp., Inc., 878 F.2d 5, 8 (1st

Cir. 1989). “Once this determination is made, the trial court has broad discretion in weighing the

costs and benefits of consolidation to decide whether that procedure is appropriate.” Id. A court’s

second inquiry turns on determining “the convenience or inconvenience to the parties, the judicial

economy, the savings in time, effort or expense, and ‘any confusion, delay, or prejudice that may

result from consolidation.’” Tingley Sys., Inc. v. CSC Consulting, Inc., 152 F. Supp. 2d 95, 102

(D. Mass. 2001). Class actions are “particularly well-suited to consolidation pursuant to Rule 42(a)

because unification expedites pretrial proceedings, reduces case duplication, avoids the need to

contact parties and witnesses for multiple proceedings, and minimizes the expenditure of time and

money for all parties involved.” See Carr v. Analogic Corp., Nos. 18-cv-11301-ADB; 18-cv-

11557-ADB, 2018 WL 4932858, at *1 (D. Mass. Oct. 10, 2018) (quoting Miami Police Relief &

Pension Fund v. Fusion-io, Inc., No. 13-cv-05368-LHK, 2014 WL 2604991, at *3 (N.D. Cal. June

10, 2014)); see also Cottage Advisors, 2012 U.S. Dist. LEXIS 164631, at *4-5 (granting

consolidation related actions and observing that “the costs and benefits of consolidation outweigh

any concerns of confusion of the jury or any prejudice to the [p]laintiff.”). For the reasons

described below, consolidation is appropriate here.

       A.      The Related Actions Involve Common Parties.

       Here, the threshold question of “common parties” is easily answered in the affirmative.

Each of the Related Actions name the same Defendant. In addition, the proposed classes in the

Related Actions include individuals whose PII was impacted by the Data Breach, which Plaintiffs

allege resulted from Defendant’s unlawful conduct.

       B.      The Related Actions Allege Common Legal Claims and Facts.

       Besides common parties, the Related Actions allege common facts and legal claims. As is

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clear on the face of the complaints, the claims arise out of the same set of operative facts:

Defendant’s acts and omissions permitted unauthorized criminal actor(s) to gain access to the

Plaintiffs’ and putative class members’ PII. Furthermore, the Related Actions allege similar

damages arising out of Defendant’s failure to implement reasonable data security and monitoring

practices. In addition, each of the Related Actions allege claims for negligence, negligence per se,

breach of fiduciary duty, and unjust enrichment (among other claims).

       C.      Consolidation Will Be More Convenient for the Parties, Will Promote Judicial
               Economy, and Save Resources.

       Consolidation of these substantively identical Related Actions will promote convenience

for the parties, judicial economy, and will save time, effort, and expense. Consolidation will also

avoid the confusion, delay, and potential prejudice that might result if the Related Actions proceed

separately. The Related Actions are in their early stages. Neither discovery nor class certification

proceedings have yet commenced. But even at this early stage, it is clear the Related Actions will

require many of the same documents and witnesses, given the overlapping factual allegations and

legal claims within the complaints, which further favors consolidation. See Americus Mortg. Corp.

v. Mark, No. 12-10158-GAO, 2013 WL 3106018, at *13 (D. Mass. June 17, 2013) (finding

consolidation warranted because “it avoids conducting duplicate hearings and duplicate

discovery”).

       Finally, consolidation will neither inconvenience the parties nor delay the proceedings.

Rather, consolidation will promote convenience and judicial economy for the parties and non-

parties alike. Consolidation will also avoid confusion among absent putative class members. The

facts and circumstances here warrant consolidation.

III.   THE COURT SHOULD APPOINT INTERIM CLASS COUNSEL

       Federal Rule of Civil Procedure 23(g)(2)(A) provides that “[t]he court may designate
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interim counsel to act on behalf of the putative class before determining whether to certify the

action as a class action.” Carrier v. Am. Bankers Life Assur. Co., 2006 U.S. Dist. LEXIS 76346,

at *1-2 (D.N.H. Oct. 19, 2006).

       The appointment of Proposed Interim Class Counsel at this stage in this putative class

action litigation is in the best interests of the parties, the putative Class, and the Court, as it will

help “clarif[y] responsibility for protecting the interests of the class during precertification

activities, such as making and responding to motions, conducting any necessary discovery, moving

for class certification, and negotiating settlement.” Federal Judicial Center, Manual For Complex

Litigation (“MCL”) § 21.11, at 246 (4th ed. 2004); see also Fed. R. Civ. P. 23(g)(3), 2003 Advisory

Committee Notes for Rule 23(g); In re Intel Corp. Microprocessor Antitrust Litig., MDL No. 05-

1717 (D. Del. Apr. 18, 2006) (“The most common approach to the selection of class counsel is

private ordering, in which Plaintiffs’ Counsel agree on which of them should serve as class

counsel”).

       In short, the appointment of Proposed Interim Class Counsel will provide efficiencies to

the parties and the Court and will avoid uncertainty and confusion regarding who may speak for

the putative Class. This is of particular importance as the parties begin to discuss topics such as

discovery and potential resolution of the Class Actions. With these goals and considerations in

mind, Plaintiffs request that the Court appoint Mason A. Barney of Siri & Glimstad LLP, Bryan

L. Bleichner of Chestnut Cambronne, P.A., and Jeff Ostrow of Kopelowitz Ostrow, P.A. as Interim

Co-Lead Class Counsel, and Daniel Srourian of Srourian Law Firm, P.C. and Brooke Murphy of

Murphy Law Firm as members of the Executive Committee. In appointing lead counsel, a court

should “conduct an independent review to ensure that counsel appointed to lead roles are qualified

and responsible, that they will fairly and adequately represent all of the parties on their side, and

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that their charges will be reasonable.” MCL § 10.22. Federal Rule of Civil Procedure 23(g) states

four factors that courts should look to in selecting interim class counsel: “(i) the work counsel has

done in identifying or investigating potential claims in the action; (ii) counsel’s experience in

handling class actions, other complex litigation, and the types of claims asserted in the class action;

(iii) counsel’s knowledge of the applicable law; and (iv) the resources that counsel will commit to

representing the class.” Fed. R. Civ. P. 23(g)(1)(A)(i)-(iv). Proposed Interim Class Counsel’s

fitness for this role is demonstrated by their commitment of all the necessary and appropriate time

and resources to prosecuting this matter at the highest level of professionalism and efficiency, their

extraordinary experience, their knowledge of applicable law, and their possession of resources

needed to successfully advance this litigation and adequately represent the class. The Rule also

contemplates that the court may also “consider any other matter pertinent to counsel’s ability to

fairly and adequately represent the interests of the class.” Fed. R. Civ. P. 23(g)(l)(B).

       Analysis of the relevant factors shows that Proposed Interim Class Counsel are well suited

to serve as leadership counsel in this matter. Proposed Interim Class Counsel have many years of

experience litigating consumer class actions in general and data breach class actions in particular.

Their knowledge of the relevant law is superior. They have committed and will continue to commit

extensive resources to the efficient but thorough litigation of this matter.

       A.      The Work That Proposed Interim Class Counsel Have Already Done Supports
               Their Appointment.

      Federal Rule of Civil Procedure 23 (g)(1)(A)(i) directs the Court to consider “the work

counsel has done in identifying and investigating” claims in the present action when weighing the

appointment of lead counsel. Proposed Interim Class Counsel have invested significant time in

this case, including pre-filing investigation, research of the potential claims, drafting of the

complaints, and litigating the case once it was filed. Indeed, before filing the instant Class Actions,
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Proposed Interim Class Counsel performed extensive investigation and legal research regarding

the potential claims in the Related Actions and the underlying facts. They have demonstrated the

ability to work cooperatively with others, including other attorneys for Plaintiffs, and intend to

implement protocols to ensure the efficient, non-duplicative, and cost-effective prosecution of this

matter.

          Proposed Interim Class Counsel have committed substantial time and resources to

organizing and working together toward the advancement of the litigation, investigating and

researching the potential legal theories and claims at issue, and researching and reviewing

information relating to the factual underpinnings of this litigation. These actions demonstrate

counsel’s willingness and ability to prosecute the Related Actions on behalf of the putative Class

to the fullest extent possible. Proposed Interim Class Counsel are familiar with the facts and legal

issues in this matter and intend to continue their efficient pursuit of the claims on behalf of

Plaintiffs and the putative Class. They have applied their extensive experience in class litigation,

including data breach cases, to the advancement and development of Plaintiffs’ and the putative

Class’s rights.

      Proposed Interim Class Counsel’s work to date includes several significant tasks:

      First, Proposed Interim Class Counsel independently investigated the facts and

circumstances surrounding the Data Breach, including, inter alia, the cause thereof, Defendant’s

public statements regarding the events surrounding the Data Breach, other media commentary, and

consumer experiences concerning information compromised in the Breach.

      Second, Proposed Interim Class Counsel devoted extensive time to researching the relevant

law, and applying their experience, to prepare detailed complaints.

      Third, Proposed Interim Class Counsel filed the first lawsuits against Defendant related to

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the Data Breach. They also assisted in preparing this joint motion and worked cooperatively with

all counsel to finalize it.

      Fourth, Proposed Interim Class Counsel have spent significant time speaking with and

interviewing class members who have contacted them, expressed interest in the case, and sought

more information about the case and the underlying Data Breach.

      Proposed Interim Class Counsel will continue to expend all the time and resources necessary

to advocate for Plaintiffs and the putative Class.

        B.      Proposed Interim Co-Lead Class Counsel’s Experience in Handling Class
                Actions and Other Complex Litigation Supports Their Appointment as
                Interim Class Counsel.

      Federal Rule of Civil Procedure 23(g)(1)(A)(ii) directs the Court to consider proposed class

counsel’s experience “in handling class actions, other complex litigation, and the types of claims

asserted in the [present] action.” Similarly, Fed. R. Civ. P. 23(g)(1)(A)(iii) directs the Court to

consider “counsel’s knowledge of the applicable law” in the present case. Proposed Interim Co-

Lead Counsel will formulate (in consultation with other counsel, including members of the

Executive Committee) and present positions on substantive and procedural issues during the

litigation. See MCL § 10.221 (“Typically they act for the group—either personally or by

coordinating the efforts of others—in presenting written and oral arguments and suggestions to the

court, working with opposing counsel in developing and implementing a litigation plan, initiating

and organizing discovery requests and responses, conducting the principal examination of

deponents, employing experts, arranging for support services, and seeing that schedules are met.”).

      Data breach cases bring their own set of challenges, and litigating them often entails

extensive factual discovery, retention of multiple experts, and a background knowledge in the

technology of cybersecurity. Recurring issues of class certification, damages, and injunctive relief

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require counsel well-versed in this practice area who have achieved legal rulings that facilitate

prosecution. Proposed Interim Co-Lead Counsel have developed knowledge in this area and these

topics through years of experience.

       Plaintiffs propose that the Court designate Mason A. Barney of Siri & Glimstad LLP,

Bryan L. Bleichner of Chestnut Cambronne, P.A., and Jeff Ostrow of Kopelowitz Ostrow, P.A. as

Interim Co-Lead Class Counsel. As the following indicates, Proposed Interim Co-Lead Counsel

have decades of substantial experience prosecuting complex class action litigation on behalf of a

wide variety of plaintiffs in a wide range of complex litigation, including large data breach and

other privacy actions.

       Proposed Interim Co-Lead Counsel

       Mason A. Barney, Siri & Glimstad LLP

       Mr. Barney is a partner at Siri & Glimstad with over seventeen (17) years of experience in

complex litigation. Mr. Barney was recently involved in a class action alleging violations of the

Telephone Consumer Protection Act (“TCPA”) which resulted in a settlement of $25,000,000 (plus

free satellite radio service) to a potential class of over 14 million customers (Buchanan v. Sirius

XM Radio, Inc., Case No. 3:17-cv-00728 (N.D. Tex.)). Mr. Barney was also trial co-counsel for

plaintiffs in an ERISA matter filed as a class action involving breaches of fiduciary duty related to

the management and termination of an ESOP, which settled after the beginning of trial for

$1,080,000 for the Class (Kindle v. Dejana, No. 14-cv-06784 (E.D.N.Y.).

       Mr. Barney has also served in leadership positions and as class counsel in numerous data

breach and privacy matters, including having been recently appointed class counsel in Carter, et

al. v. Vivendi Ticketing US LLC d/b/a See Tickets, No. 8:22-cv-01981 (C.D. Cal.), which received

final approval for a settlement involving 437,310 class members and a $3,000,000 non-

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reversionary settlement fund; Gilleo et al. v. California Pizza Kitchen, Inc., No. 8:2021-cv-01928-

DOC-KES (C.D. Cal.), which settled with over $2,000,000 of relief going to the class members;

Armstrong et al. v. Gas South, LLC, Civil Action No. 22106661 (Sup. Ct. Cobb Cty., Ga.) which

received final approval for a settlement involving 38,671 class members and valued at over $9

million; Medina v. Albertsons Companies, Inc., Case No. 1:23-cv-00480 (D. Del.), which received

final approval for a settlement involving 33,000 class members and a $750,000 non-reversionary

settlement fund; and In re Sovos Compliance Data Security Incident Litigation, Case No. 1:23-cv-

12100-AK, which received preliminary approval for a settlement involving roughly half a million

class members and a $3,534,128.50 non-reversionary settlement fund).

       Additionally, Mr. Barney is currently serving as interim class counsel in a number of other

data breach actions, including but not limited to, Perez v. Carvin Wilson Software LLC, Case No.

cv-23-00792 (D. Ariz.), Nulf v. Alvaria, Inc., et al., Case No. 1:23-cv-10999 (D. Mass.), Rasmussen

et al. v. Uintah Basin Healthcare, Case No. 2:23-cv-00322 (D. Ut.), Skurauskis, et al. v.

NationsBenefits Holdings, LLC, et al., Case No. 0:23-cv-60830 (S.D. Fl.), In re Family Vision

Data Security Incident Litigation, Case No. 2023CP0401671 (S.C., County of Anderson), In re

Data Security Litigation Against Brightline, Inc., Case No. 3:23-cv-02132, In re: Vivendi Ticketing

US LLC, d/b/a See Tickets Data Security Incident, Case No. 2:23-cv-07498 (C.D. Cal.), In re DISH

Network Data Security Incident Litigation, Case No. 1:23-cv-01168 (D. Colo.), In re Sovos

Compliance Data Security Incident Litigation, Case No. 1:23-cv-12100 (D. Mass.), Boudreaux v.

Systems East, Inc., Case No. 5:23-cv-01498 (N.D.N.Y.), and Scott et al v. Union Bank and Trust

Company, Case No. 4:23-cv-03126 (D. Neb.) (the court commenting that “proposed interim co-

lead counsel are experienced and qualified attorneys, and each has knowledge of the applicable

law, experience in managing and prosecuting cases involving data security and privacy, notable

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successes against large corporate Defendant, and resources they are willing to expend to litigate

these cases”).

       Mr. Barney holds an undergraduate degree in Computer Science and, after college, served

as a database programmer for three years, giving him additional insight and knowledge into the

highly complex issues that arise in data breach litigation. He has also published articles concerning

data privacy and cyber security issues in leading publications such as Inc. Magazine, Bloomberg

BNA, and Inside Counsel Magazine. Further details about Mr. Barney, as well as Siri & Glimstad’s

class action group, are included in the firm resume submitted herewith as Exhibit A.

       Bryan Bleichner, Chestnut Cambronne, P.A.

       Bryan L. Bleichner is a shareholder at Chestnut Cambronne PA, an officer of the Antitrust

Section of the National Federal Bar Association, a featured speaker at the National American Bar

Association, and a current member of the Sedona Conference Working Group Series.

Mr. Bleichner has extensive experience serving as leadership or class counsel in numerous class

action data breach cases including: Jones v. ESO Solutions, Inc., Case No. 1:23-cv-01557 (W.D.

Tex.); In re Ortholaska Data Breach Litigation, No. 3:23-cv-00242 (D. Ala.); In re DISH Network

Data Breach Security Litigation, Case No. 1:23-cv-01168 (D.Col.); In re Whitworth Data Breach

Security Litigation, Case No. 2:23-cv-00179-SAB (E.D. Wash.); In re R&B Corporation of

Virginia d/b/a Credit Control Corporation, Case No. 4:23-cv-00066-JKW-RJK (E.D. Va.); In Re:

Group Health Plan Litig., Case No. 23-cv-267-JWB/DJF (D. Minn.): Rasmussen, et al., v. Uintah

Basin Healthcare, Case No. 23-cv-00322-HCN-CMR (D. Ut.); Johnson v. Yuma Regional Medical

Center, No. 2:22-cv-01061 (D. Ariz.); In re Netgain Technology, LLC, Consumer Data Breach

Litigation, No. 21-cv-1210, (D. Minn.); In re 20/20 Eye Care Network Inc. Data Breach Litigation,

No. 21-cv-61275-RAR (S.D. Fla.); Baker v. ParkMobile, LLC, No. 1:21-cv-02182 (N.D. Ga.); In

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re Herff Jones Data Security Breach Litigation, No. 1:21-cv-01329-TWP-DLP (S.D. Ind.); In re

EyeMed Vision Care, LLC Data Security Breach Litigation, No. 1:21-cv-00036-DRC (S.D. Ohio);

In re Luxottica of America, Inc. Data Security Breach Litigation, No. 1:20-cv-00908-MRB (S.D.

Ohio); Greenstate Credit Union v. Hy-Vee, Inc., No. 20-621-DSD-DTS (D. Minn.); Village Bank

v. Caribou Coffee Co., Inc., No. 0:19-cv-01640 (D. Minn.); In re WaWa, Inc. Data Security

Litigation, No. 19-cv-6019-GEKP (E.D. Pa.); In re Equifax, Inc., Customer Data Security Breach

Litigation, No. 17-md-2800-TWT (N.D. Ga.); Midwest American Federal Credit Union v. Arby’s

Restaurant Group, Inc., No. 17-cv-00514-AT (N.D. Ga.); Bellwether Cmty. Credit Union v.

Chipotle Mexican Grill, Inc., No. 17-cv-1102 (D. Colo); First Choice Fed. Credit Union v. The

Wendy’s Company, No. 2:16-cv-00506 (W.D. Pa.); Veridian Credit Union v. Eddie Bauer LLC, No.

2:17-cv-00356 (W.D. Wash.); In re The Home Depot, Inc., Customer Data Security Breach

Litigation, No. 1:14-md-02583 (TWT) (N.D. Ga.); and In re Target Corporation Customer Data

Security Breach Litigation, No. 0:14-md-02522-PAM-JJK (D. Minn.); Lutz v. Electromed, Inc.,

No. 70-CV-21-11814 (D. Minn.); Thomas v. Pawn America Minnesota, LLC, No. 0:21-cv-02554

(D. Minn.); Seabrian v. St. Joseph’s/Candler Health System, Inc., No. STCV21-01652 (State Court

of Chatham County, Georgia).

       Mr. Bleichner also has experience serving as leadership or class counsel in non-data-breach

class actions, including: Walker v. Nautilus, Inc., No. 20-cv-3414-EAS-EPD (S.D. Ohio); Maura

Howard v. Life Time Fitness, Inc., No. 27-cv-20-10513 (Minn. 2020); Barclay v. Icon Health &

Fitness, Inc., No. 19-cv-02970-ECT-DTS (D. Minn.); In re Resideo Technologies, Inc. Securities

Litigation, No. 19-cv-02863-WMW-KMM (D. Minn.); In re Pork Antitrust Litigation., No. 18-cv-

1776-JRT-HB (D. Minn.); In re DPP Beef Litigation, No. 20-cv-1319-JRT/HB (D. Minn.); James

Bruner v. Polaris Industries Inc., No. 18-cv-00939-WMW-DTS (D. Minn.); In re FedLoan Student

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Loan Servicing Litigation, No. 2:18-md-02833-CDJ (E.D. Pa.); Marie Travis v. Navient Corp., No.

17-cv-04885-JFB-GRB (E.D.N.Y.); Delamarter v. Supercuts, Inc., No. 19-3158-DSD-TNL (D.

Minn.); and Christian v. National Hockey League, No. 0:14-md-02551-SRN-JSM (D. Minn.).

Additional information regarding Mr. Bleichner and Chestnut Cambronne PA is detailed in the

firm resume attached as Exhibit B.

       Jeff Ostrow, Kopelowitz Ostrow, P.A.

       Jeff Ostrow is the Managing Partner of Kopelowitz Ostrow P.A. and has been practicing

law for 27 years. Mr. Ostrow established the South Florida-based firm immediately following his

graduation from Nova Southeastern University in 1997 and has since grown it to 25 attorneys.

       Beyond managing the firm, Mr. Ostrow heads the class action department and maintains a

full caseload of nationwide class actions. Although Mr. Ostrow currently only represents class

plaintiffs, he has prior experience defending large companies in class actions, including banks,

commercial lenders, and tech companies, which affords him a valuable perspective and advantage

in litigation and settlement.

       Mr. Ostrow is counsel of record in approximately 100 pending data breach cases. Three

notable cases in which he is part of the leadership structure, all among the largest currently

pending, include: Crowe v. Managed Care of N. Am., Inc., No. 23-cv-61065 (S.D. Fla.), affecting

eight million individuals, where he is Co-Lead Counsel for Plaintiffs; Fortra File Transfer

Software Data Sec. Breach Litig., No. 24-md-3090 (S.D. Fla.), an MDL involving six million

individuals, where he is MDL Co-Lead Counsel; and In re HCA Healthcare Data Security

Litigation, No. 3:23-cv-00684 (M.D. Tenn.), affecting eleven million people, where he is on the

Plaintiffs’ Executive Committee.

       For about 13 years, Mr. Ostrow’s firm served as Coordinating Counsel, Settlement Class

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Counsel, and Lead Class Counsel in In re Checking Acct. Overdraft Litig., No. 1:09-MD-02036-

JLK (S.D. Fla.), a large MDL that resulted in the recovery of $1.2 billion from the nation’s largest

banks, and is Liaison Counsel in In re Disposable Contact Lens Antitrust Litigation, No. 3:15-md-

2626-HES-JRK (M.D. Fla.), an antitrust class action with $85 million recovered to date. Moreover,

Kopelowitz Ostrow P.A. is co-counsel for Broward County and the City of Fort Lauderdale in In

re: National Prescription Opiate Litigation, No. 1:17-md-2804 (N.D. Ohio), and for the Broward

and Miami-Dade County School Boards in In re Juul Labs, No. 19-md-2913 (N.D. Cal.), helping

clients recover $100 million and $26 million, respectively.

       Federal judges have recognized Mr. Ostrow’s commitment to excellence. In Farrell v.

Bank of America, N.A., 327 F.R.D. 422, 432 (S.D. Cal. 2018), in which Mr. Ostrow served as lead

counsel on behalf of millions of people, United States District Judge James Lorenz made the

following observation when granting final approval of a settlement that included a $68 million

recovery and $1.2 billion in injunctive relief requiring the defendant bank to stop an enormously

lucrative practice:

       Class Counsel achieved this result through tenacity and great skill. In all of their
       written submissions and in their presentation at the Final Approval Hearing, Class
       Counsel’s arguments were laudably clear and precise, no small feat given the
       complexity of the legal questions at issue here. It is clear that substantial preparation
       went into all of Class Counsel’s work on this case.

       Similarly, when approving a $13 million settlement in which Mr. Ostrow was one of the

lead counsel, United States District Judge James Lawrence King commented that “Class Counsel’s

efforts in pursing and settling these consumer claims were, quite simply, outstanding.” In re

Checking Account Overdraft Litig., 1:09-md-02036-JLK, 2013 WL 11319244, *16 (S.D. Fla. Aug.

2, 2013). In another recent case in which Mr. Ostrow was lead counsel, United States District

Judge Jose Martinez noted, “Here, Class Counsel worked extensively and with a high level of skill

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to advance Plaintiff’s claims . . . The case involved difficult factual and legal issues from a global

pandemic. . . . Despite the strong defenses presented by Barry [University], Class Counsel obtained

an excellent result for the Settlement Class Members.” Rosado v. Barry Univ., Inc., No. 1:20-cv-

21813-JEM (S.D. Fla.), ECF No. 84 at 14.

       Mr. Ostrow has worked cohesively with Plaintiffs’ counsel in other cases. He is confident

that this proposed leadership structure will result in an excellent recovery for all clients and class

members. Additional information regarding Mr. Ostrow and his firm is detailed in the firm resume

attached as Exhibit C.

       C.      Proposed Interim Class Counsel’s Knowledge of Applicable Law.

     The third Rule 23(g)(1)(A) factor, “counsel’s knowledge of the applicable law,” also favors

appointing Proposed Interim Class Counsel. Proposed Interim Class Counsel are knowledgeable

and familiar with the legal claims and statutes at issue. Each of these firms regularly litigates cases

involving complex litigation, including data breach cases. Further, as discussed above, Proposed

Interim Class Counsel extensively researched the claims at issue before filing their actions. Given

their vast experience, Proposed Interim Class Counsel are also equally knowledgeable regarding

the discovery and expert needs for the instant case, and are prepared to defend against and refute

the multiple affirmative defenses expected to be raised by Defendant. Perhaps most importantly,

Proposed Interim Class Counsel are seasoned class action litigators who are well-versed in the

nuances of the class action vehicle and Rule 23 in particular.

       D.      Proposed Interim Co-Lead Class Counsel Have and Will Commit All
               Necessary Resources to Representing Class.

     Counsel responsible for prosecuting Plaintiffs’ claims must be able to dedicate very

significant resources to advance the claims of the proposed Classes. See Fed. R. Civ. P.

23(g)(1)(A)(iv). Proposed Interim Co-Lead Counsel have demonstrated their collective will and
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ability to dedicate the necessary resources to ensure a substantial and sustainable case on behalf of

the putative Class. As described in detail above, Proposed Interim Co-Lead Counsel have

thoroughly investigated, developed, and gathered evidence in support of Plaintiffs’ claims against

Defendant, and have already invested and committed significant resources to prosecute this

important case. Proposed Interim Co-Lead Counsel are hard-working, organized, and effective.

They have taken many cases from inception to conclusion (both together and separately),

advancing all litigation costs, and will do so here. Moving forward, Proposed Interim Co-Lead

Counsel will continue to staff this action with knowledgeable and experienced attorneys, including

with the members of the Executive Committee, supported by accomplished support staff, as they

prepare pleadings, draft memoranda, conduct discovery, work with experts, and assist in trial

preparation. Proposed Interim Co-Lead Counsel will continue their commitment of resources and

efforts to the eventual consolidated action, just as they have in other, successful litigation.

Moreover, Proposed Interim Co-Lead Counsel’s decades of accomplished litigation in cases like

this one evidence a proven history of dedicating all resources necessary to effectively litigate the

claims they allege. In the aggregate, Proposed Interim Co-Lead Counsel will put forth substantial

resources to vigorously advocate for the interests of the putative Class, just as they have done in

prior data breach cases. Finally, it is important to note that Proposed Interim Co-Lead Counsel will

make every effort to effectively and efficiently staff the litigation in a manner that will avoid

unnecessary duplication of effort.

IV.    CONCLUSION

       To promote efficiency and judicial economy, and to avoid unnecessary costs and undue

delay, Plaintiffs respectfully request that the Court enter the proposed order submitted herewith

(1) consolidating the six above-captioned Related Actions, (2) appointing Mason A. Barney of Siri

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& Glimstad LLP, Bryan Bleichner of Chestnut Cambronne, P.A., and Jeff Ostrow of Kopelowitz

Ostrow, P.A. as Interim Co-Lead Class Counsel, and Daniel Srourian of Srourian Law Firm, P.C. 2

and Brooke Murphy of Murphy Law Firm 3 as members of the Executive Committee, pursuant to

Fed. R. Civ. P. 23(g); and (3) for all other relief this Court may deem just and proper.

Dated: May 1, 2024.                           Respectfully submitted,

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                                              Counsel for Plaintiff Michael Meyerson and the
                                              Putative Class

                                              Jeff Ostrow*

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    Mr. Srourian’s Firm Resume is also attached hereto as Exhibit D.
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    Ms. Murphy’s Firm Resume is also attached hereto as Exhibit E.
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                                   Class

                                   *pro hac vice forthcoming




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                                CERTIFICATE OF SERVICE

       The undersigned attorney of record hereby certifies that the foregoing document filed

through the ECF system will be sent electronically to the registered participants as identified on

the Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-

registered participants.

Dated: May __, 2024.                                   /s/




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